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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
JOSEPH P. O’LEARY, )
Plaintiff, Case No. 09 CV 1428
V. Judge Conlon
HEALTHCARE SERVICES, INC., d/b/a Magistrate Judge Mason
ACCRETIVE HEALTH and MARY TOLAN, _)
Defendants.

DEFENDANT TOLAN’S MOTION TO DISMISS
COUNT III OF PLAINTIFF’S COMPLAINT’

Defendant MARY TOLAN (“Tolan”), by her attorneys Seyfarth Shaw LLP, and pursuant
to Fed. R. Civ. P. 12(b)(6), moves to dismiss Count III of Plaintiff?s Complaint. In support of
‘her motion, Defendant relies on her contemporaneously filed memorandum in support and states:

1. On March 5, 2009, Plaintiff filed a three-count Complaint against Defendants
Healthcare Services, Inc., d/b/a Accretive Health and Mary Tolan. Counts I and II of the
Complaint allege claims against Accretive Health (“‘Accretive”) under Title VII of the Civil
Rights Act of 1964, as amended, the Illinois Wage Payment and Collection Act, and the Illinois
Attorneys’ Fees Collection Act. Count III alleges “tortious interference with prospective
relationship” against Accretive’s Chief Executive Officer, Mary Tolan (“Tolan”).

2. Count III of Plaintiff's Complaint should be dismissed because it fails to state a
claim for “tortious interference with prospective relationship” against Tolan.

3. Illinois does not recognize a claim for “tortious interference with prospective

relationship,” and Count III of Plaintiff's Complaint should be dismissed on this basis alone.

' Counts I and II allege claims only against the corporate defendant Healthcare Services, Inc., d/b/a
Accretive Health, while Count III alleges claims only against the individual defendant Mary Tolan.

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4. Alternatively, Plaintiff fails to state a claim for tortious interference with
prospective economic advantage under Illinois law for the following reasons:

a. Plaintiff fails to allege that he had a reasonable expectation of continued
employment with Accretive Health and that Tolan had knowledge of and
purposefully interfered with his alleged expectation.

b. Tolan is Accretive Health’s Chief Executive Officer and is protected by Illinois’
corporate officer privilege.

c. Plaintiffs attempted claim is inextricably linked to allegations of a civil rights
violation under the Illinois Human Rights Act and is, therefore, preempted by that
Act.

WHEREFORE, for the foregoing reasons, set forth more fully in Defendant’s supporting
memorandum of law filed herewith, Defendant Mary Tolan respectfully submits that Count III of
Plaintiff's claim should be dismissed with prejudice.

Respectfully submitted,

MARY TOLAN

By__s/ Brenda H. Feis
One of Her Attorneys

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May 14, 2009
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CERTIFICATE OF SERVICE

I, Brenda H. Feis, an attorney, do hereby certify that on May 14, 2009, I caused a true and
correct copy of the foregoing MOTION TO DISMISS COUNT II OF PLAINTIFF’S COMPLAINT to be

filed with the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the following:

Nancy A. Temple

Katten & Temple LLP

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By: s/Brenda H. Feis
Brenda H. Feis

